                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                         DOCKET NO. 5:16-cv-00198-FDW-DSC


 WÄRTSILÄ TECHNOLOGY OY AB and                    )
 WARTSILA DEFENSE, INC,                           )
                                                  )
        Plaintiffs,                               )
                                                  )                ORDER and NOTICE
 vs.                                              )
                                                  )
 COASTAL SEAL SERVICE, LLC,                       )
                                                  )
        Defendant.                                )
                                                  )

       THIS MATTER is before the Court on the parties’ Joint Motion to Dismiss (Doc. No. 39).

Although the parties stipulate to dismissal because they have resolved the case via settlement

agreement, they request a court order pursuant to Fed. R. Civ. P. 41(a)(2), which allows voluntary

dismissal “By Court Order.” Comp. Fed. R. Civ. P. 41(a)(1) with Fed. R. Civ. P. 41(a)(2).

Pursuant to Rule 41(a)(2), the parties jointly move to dismiss the action with prejudice, with each

party to bear its own costs and attorney’s fees. Their confidential settlement agreement stipulates

that the Court shall retain jurisdiction to enforce the terms, conditions, and releases of the

Settlement Agreement to the extent reasonable, necessary, and appropriate.

       Accordingly, the parties’ Joint Motion (Doc. No. 39) is GRANTED.                The Court

DISMISSES the action with prejudice, with each party to bear its own costs and attorney’s fees,

and RETAINS jurisdiction to enforce the settlement agreement to the extent reasonable, necessary,

and appropriate.

       IT IS SO ORDERED.
                                         Signed: April 26, 2018




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